                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 ANDREW PARSONS,                                    Case No. 16-cv-05387-VC
                Plaintiff,
                                                    ORDER DENYING RENEWED
         v.                                         MOTION FOR PRELIMINARY
                                                    APPROVAL
 KIMPTON HOTEL & RESTAURANT
 GROUP, LLC,                                        Re: Dkt. No. 98
                Defendant.


       Following the hearing on the renewed motion for preliminary approval of the settlement,

the Court has concluded, based on the unique facts of this case, including the prospective relief

that would be obtained, that the basic structure of the settlement (a “claims made” settlement

with a cap of $600,000, with Kimpton to pay only the amount claimed by members of the class)

is reasonable. However, at the hearing, counsel for Kimpton asserted that the settlement is

designed to fully compensate anyone who was injured as a result of the data breach. The Court

disagrees, and finds that it is unreasonable to reimburse injured class members a mere $15 per

hour for time spent protecting against identity theft. It is also unreasonable to cap the number of

hours for which injured class members may seek reimbursement at three. The $15 hourly rate is

far too low to fully compensate injured class members, and the three-hour cap will likely

shortchange at least some subset of injured class members. Furthermore, following up on a

discussion from the previous hearing, a casual reader would continue to interpret the notice to be

sent to class members as requiring documentation to support expenses such as bank fees and

postage charges. The notice could be re-worded to more clearly signal that these expenses may
simply be described (with document submission being an alternative).
       Finally, class counsel's anticipated request of $800,000 in attorney's fees and Kimpton's

promise not to challenge that request is unjustified on the current record given the low expected

participation rate in the settlement and the $600,000 cap. See In re Bluetooth Headset Prods.

Liab. Litig., 654 F.3d 935, 947-49 (9th Cir. 2011); Staton v. Boeing Co., 327 F.3d 938, 964 (9th

Cir. 2003).

       For these reasons, the renewed motion for preliminary approval is denied. See Cotter v.

Lyft, Inc., 193 F. Supp. 3d 1030, 1036-1037 (N.D. Cal. 2016); Hunt v. VEP Healthcare, Inc., No.

16-cv-04790-VC, 2017 WL 3608297 (N.D. Cal. Aug. 22, 2017); see also Order Denying Motion

for Preliminary Approval, Parsons v. Kimpton Hotel & Restaurant Group, LLC, 16-cv-05387-

VC (July 12, 2018), Dkt. No. 96. However, based on the materials submitted in support of both

this motion and the prior one, if the parties file a renewed motion for preliminary approval that

addresses these concerns, the Court will likely grant it.



       IT IS SO ORDERED.

Dated: September 13, 2018
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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